                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                              SOUTHERN DIVISION
                          CIVIL ACTION NO. 7:16-CV-18-D


FREDRIC N. ESHELMAN,

                                     Plaintiff,

v.                                                                      ORDER

PUMA BIOTECHNOLOGY, INC.,

                                     Defendant.


        THIS CAUSE, being before the undersigned upon motion of Defendant Puma

Biotechnology, Inc. ("Puma"), for an order approving supersedeas bond and staying execution of

judgment pending disposition of post-trial motions and appeal; and

        IT APPEARS to the Court there is good cause to grant Puma's motion;

        IT IS, THEREFORE, ORDERED THAT:

     1. P~ma's supersedeas bond in the amount of $29,500,000.00 is hereby approved as security

        for the judgment pending disposition of any post-trial motions, as well as disposition of

        this case on appeal;

     2. Puma will ultimately bond 110% of the amount of that final judgment;

     3. Execution of the judgment is hereby stayed, pending disposition of the post-trial motions

        and any eventual appeal pursuant to Rule 62(b) of the Federal Rules of Civil Procedure.

        This the _!_Q_ day of   ~I, 2019.




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